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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

KATIE D. MCCLARAN; ASHLEY                        )
THOMAS; and JENNIFER L. ROACH, on                )
behalf of themselves and all others similarly    )
situated,                                        )
                                                 )
               Plaintiffs,                       )
                                                 )
                                                         Civil Action No. 3:14-cv-03884-JFA
       v.                                        )
                                                 )
CAROLINA ALE HOUSE OPERATING                     )
COMPANY, LLC; and LM                             )
RESTAURANTS, INC.,                               )
                                                 )
               Defendants.                       )
                                                 )

  DEFENDANT’S ANSWERS TO LOCAL CIVIL RULE 26.01 INTERROGATORIES

       COMES NOW Defendant LM Restaurants, Inc., and files its Answers to Local Civil Rule

26.01 Interrogatories.

INTERROGATORY A:

       State the full name, address, and telephone number of all persons or legal entities who

may have a subrogation interest in each claim and state the basis and extent of said interest.

ANSWER TO INTERROGATORY A:

       Defendant LM Restaurants, Inc., is unaware of any such person.

INTERROGATORY B:

       As to each claim, state whether it should be tried jury or nonjury and why.
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ANSWER TO INTERROGATORY B:

        Plaintiffs’ Complaint alleges claims under the Fair Labor Standards Act, 29 U.S.C. § 201,

et seq. (“FLSA”), for unpaid minimum wage. Jury trials are available for such claims and

Plaintiffs have requested a jury trial.

INTERROGATORY C:

        State whether the party submitting these responses is a publicly owned company and

separately identify: (1) each publicly owned company of which it is a parent, subsidiary, partner,

or affiliate; (2) each publicly owned company which owns ten percent or more of the outstanding

shares or other indicia of ownership of the party; and (3) each publicly owned company in which

the party owns ten percent or more of the outstanding shares.

ANSWER TO INTERROGATORY C:

        LM Restaurants, Inc., is not a publicly owned company. There are no publicly owned

companies responsive to the categories above.

INTERROGATORY D:

        State the basis for asserting the claim in the division in which it was filed (or the basis of

any challenge to the appropriateness of the division).

ANSWER TO INTERROGATORY D:

        Named Plaintiffs’ allegations arise from their employment in Columbia, South Carolina.

Thus, the United States District Court for the District of South Carolina, Columbia Division, is

the proper division for resolution of Plaintiffs’ allegations. LM Restaurants, Inc., was never the

employer of named Plaintiffs and denies that it is a proper party to this action or that it has

operations in South Carolina.




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INTERROGATORY E:

        Is this action related in whole or in part to any other matter filed in this District, whether

civil or criminal? If so, provide: (1) a short caption and the full case number of the related

action; (2) an explanation of how the matters are related; and (3) a statement of the status of the

related action. Counsel should disclose any cases which may be related regardless of whether

they are still pending. Whether cases are related such that they should be assigned to a single

judge will be determined by the Clerk of Court based on a determination of whether the cases:

arise from the same or identical transactions, happenings, or events; involve the identical parties

or property; or for any other reason would entail substantial duplication of labor if heard by

different judges.

ANSWER TO INTERROGATORY E:

        LM Restaurants, Inc., is unaware of any other related matter filed in this District.

INTERROGATORY F:

        If the defendant is improperly identified, give the proper identification and state whether

counsel will accept service of an amended summons and pleading reflecting the correct

identification.

ANSWER TO INTERROGATORY F:

        LM Restaurants, Inc., is a proper legal entity name, though it never employed the named

Plaintiffs.




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INTERROGATORY G:

        If you contend that some other person or legal entity is, in whole or in part, liable to you

or the party asserting a claim against you in this matter, identify such person or entity and

describe the basis of said liability.

ANSWER TO INTERROGATORY G:

        While LM Restaurants, Inc., denies any liability to Plaintiffs, it is not aware of any other

such party.

        DATED this the 17th day of November 2014.

                                              Respectfully submitted,

                                              OGLETREE, DEAKINS, NASH,
                                              SMOAK & STEWART, P.C.

                                        By:   s/William L. Duda
                                              William L. Duda (Fed ID No. 7740)

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                                CERTIFICATE OF SERVICE

       I, William L. Duda, do hereby certify that the foregoing DEFENDANT’S ANSWERS

TO LOCAL CIVIL RULE 26.01 INTERROGATORIES has been served upon the following

persons electronically via the Court’s Electronic Case Filing system:

       James M. Griffin, Esq.                               Badge Humphries, Esq.
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       Dated this the 17th day of November 2014.


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